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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                     ABINGDON

  UNITED STATES OF AMERICA

              v.                                      Case No. 1:20CR32

  TIMOTHY BAXTER

                                     PLEA AGREEMENT

          I have agreed to enter into a plea agreement with the United States of America, pursuant
  to Rule ll(c)(l)(C) of the Federal Rules of Criminal Procedure. The terms and conditions of
  this agreement are as follows:

  A. CHARGE TO WHICH I AM PLEADING GUILTY AND WAIVER OF RIGHTS

     1. The Charge and Potential Punishment

          My attorney has informed me of the nature of the charge and the elements of the charge
  that must be proved by the United States beyond a reasonable doubt before I could be found
  guilty as charged.

         I agree to plead guilty to an Information, which is a charge brought by the United States
  Attorney as opposed to one returned by a Grand Jury. I am waiving and giving up my right to
  be charged by Indictment and have a Grand Jury vote on my probable guilt.

         I will enter a plea of guilty to Count 1 of the Information.

         Count 1 charges me under the Responsible Corporate Officer doctrine with the
  misdemeanor offense of causing the introduction or delivery for introduction into interstate
  commerce of a drug that is misbranded, in violation of21 U.S.C. §§ 33 l(a) and 333(a)(l). The
  maximum statutory penalty is a fine of$100,000 and imprisonment for a term of one year, plus
  a term of supervised release of one year.

         I understand fees may be imposed to pay for incarceration, supervised release, and costs
  of prosecution. In addition, a $25 special assessment, pursuant to 18 U.S.C. § 3013, will be
  imposed. I further understand my supervised release may be revoked if I violate its terms and
  conditions. I understand a violation of supervised release increases the possible period of
  incarceration.         -~

  Defendant's Initials:   ~
                                           Page 1 of 11
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         I agree that al I of the facis set forth in the lnfonnation arc true and correct and p.-ovide
  the Court with a sufficient factual basis to support my plea. I am pleading guilty as described
  above bec,at.LSe I am in foct guilty and because I believe it is in my best interest to do so and
  nol because or any threats or promises. There has been no promise made ,vhatsoever by anyone
  as 10 what the final disposition of this maller will be.

     2. \VaiverofCon$titutional Right.s Upon a Plea o(Guiltv

         I acknowledge I have had all of my rights explained 10 me and I expressly recognize I
  have the following constitutional rights and, by voluntarily pleading guilty, I knowingly waive
  and give up these valuable constitutional right,;:

         a. llte right to plead not guilty and persist in that plea;
         b. The right to a speedy and public jury trial;
         c. The right to assis1ancc of counsel at that trial and in any subsequent appcali
         d. The right to remain silent at trial~
         c. The righ1 to testify at trial;
         f. The right 10 confront and cross-examine witnesses called by the government~
         g. The right to present evidence and witnesses in rny own behaH;
         h. The right to compulsory process of the couit;
         i. The rig.hi to compel the auendance of witnesses at trial;
         j. The right to be presumed innocent;
         k. The right to a unanimous guilty verdict; and
         I. The right to appeal a guilty verdict.

  B. SF.NTF.NCl NG PROVJSIONS

      I. Ccnernl Matters

          Pursuant to Fed. R. Crim. P. I l (c)(IXC), the United S1a1es and I agree I shall be
  sentenced to a period of incarceration, if any, within the range of Omonths to J2 months, a
  fine ofSI00.000 (ooe hundred 1housand dollars), a mandatory assessment of$2S (twenty-five
  dollars), no restitution, and a period of supervised release or probation for a tenn of one year.
  If there is siill a health concern related 10 COVID-19. the United States does not oppose the
  Court considering that fact in detcnnining the appropriate sentence. The parties agree this is a
  reasonable sentence considering all of the facts and circumstances of tllis case. I understand
  the Court must sentence me in accordance with this agreement or reject the plea agreement. lf,
  and only if, the Court rejects the plea agreement, I will be given an oppoitunity 10 withdraw
  my guilty plea. The United States and I agree that all other sentencing matters, including, bu1
  not Jimitcd co, conditions and costs of supervised release or probation, are Jeft 10 the Court's
  discretion. Both parties retain the right to present evidence ru--.d make arguments as to these
  oihcr sentencing mallcl~c appropriate tcnn of imprisonment, if any, wi1hin the range se1
  Defendant's Initials:
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  forth above. Because the parties have stipulated the agreed to sentence in the range stated
  above is reasonable regardless of the guidelines calculations, I waive any right I may have to
  any future reduction in sentence based on a change in the sentencing guidelines.

         I understand I will have an opportunity to review a copy of my presentence report in
  advance of my sentencing hearing and may file objections, as appropriate. The United States
  and I will have an opportunity at my sentencing hearing to present evidence, bring witnesses,
  cross-examine any witnesses called by the other party, and argue to the Court what an
  appropriate sentence should be within the confines of the terms of this agreement.

         I understand I will not be eligible for parole during any term of imprisonment imposed.
  I understand the Court is not bound by any guideline stipulation contained in this agreement
  and may sentence me up to the statutory maximum.

         I have discussed sentencing issues with my attorney and realize I may be incarcerated.

     2. Sentencing Guidelines

          The parties agree the 2018 edition of the United States Sentencing Guidelines Manual
  applies to any guidelines calculation made pertaining to my offense. I understand the United
  States and I will be free to argue what sections should or should not apply.

         Unless the Court rejects this plea agreement, I agree to accept responsibility for my
  conduct. If I comply with my obligations under this plea agreement and accept responsibility
  for my conduct, the United States will recommend the Court grant me a two-level reduction in
  my offense level, pursuant to U.S.S.G. § 3El.l(a) for purposes of any guidelines calculation.
  However, I stipulate that ifl fail to accept responsibility for my conduct or fail to comply with
  any provision of this plea agreement, I should not receive credit for acceptance of
  responsibility. In addition, I understand and agree the United States will have a continuing
  objection to me receiving credit for acceptance ofresponsibility until I have testified truthfully
  at my sentencing hearing, if called upon to testify. I agree the United States will not be required
  to make any other notice of its objection on this basis.

     3. Substantial Assistance

         I understand the United States will not make a motion for a reduction of my sentence
  based on substantial assistance. The agreed disposition already takes into account the
  requirement that I cooperate with the government as described below in paragraph D.10.

     4. Monetary Obligations

        I agree that wii:tjh;(30) days of entering my plea of guilty I will submit to the
  Defendant's Initials:  .
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  U.S. Clerk's Office, a certified check, money order, or auomcy's trust check, made payable to
  1he "Clerk. U.S. District Court" in lhe amoun1 ofSI00,025 (one hundred thousand 1wenty-five
  dollars) to be credited 10 lhe manda<ory assessment and fine ordered by 1he court.


  C. ADDITIONAi. MAUtRS

      1. Waiver of Right to Appeal

         Knowing lhal I have a rig)lt of direct appeal of my sentence under 18 U.S.C. § 3742(a)
  and lhc grounds listed therein, I expressly waive the rig)lt to appeal my sentence on those
  grounds or on any ground. In addition, I hereby waive my righl of appeal as to any and all
  other issues in this matter and agree I wilJ not file a notice  or  appeal. I am knowingly and
  voluntarily waiving any right to appeal. By signing this agreement, I am explicitly and
  irrevocably directing my attorney not co file a notice of appeal. Notwithstanding any other
  la11guage to lite contrary, I am not wafring my right to appeal or It> J,a,•e my attorney file a
  notice of appeal, as to a11y i~·ue which cannot be wafred, by law. J understand the United
  States expressly reserves all of its rights to appeal. I agree and understand if I file any court
  document (except for an appeal based on an issue that cannot be waived, by law, or a
  collateral attack based on ineffective assistance of counsel) seeking to disturb, in any way,
  any order imposed in my case .such action shall constitute a failure to comply with a
  provision of this agreement.

     2. Waiver of Right to Collaterally Auack

         I waive any right I may have to collaterally attack, in any future proceeding, any order
  issued in this matter, unless such attack is based on ineffective assistance ofcounsel, and agree
  Twill not file any document which seeks to disturb any such order, unless such filing is based
  on ineffective assistance of counsel. l agree. and u.nderstand that if I file any court
  document (except fo r an appeal based on an issue not otherwise waived i.o this agreement;
  an appeal based on an issue that cannot be waived, by law; or a collateral attack based
  on ineffective assistance of counsel) seekio.g to disturb, in any way, any order imposed in
  my ca,5e, such action shall constitute a failure to comply with a provision of this
  agreement.

     3. lnforrnation Access Waiver

         I knowingly and voluniarily agree to waive all rig)lts, whether asserted direc1ly or by a
  representative, to request or receive from any depanment or agency of the United States ru1y
  records pertaining to the investigation or prosecution of this case, including without limitation
  any records that may be~ h t under the freedom of Information Act, 5 U.S.C. §552, or the
  Privacy Act of 1974. 5   • . §552a.
  Defendant's Initials:      ~
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     4. Waiver of Witness Fee

         I agree to waive all rights, claims or interest in any witness fee I may be eligible to
  receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness conference
  or court proceeding.

     5. Abandonment of Seized Items

          By signing this plea agreement, I hereby abandon my interest in, and consent to the
  official use, destruction or other disposition of each item obtained by any law enforcement
  agency during the course of the investigation, unless such item is specifically provided for in
  another provision of this plea agreement. I further waive any and all notice of any proceeding
  to implement the official use, destruction, abandonment, or other disposition of such items.

     6. Program Exclusion

         I agree and acknowledge I may be excluded pursuant to 42 U.S.C. § 1320a-7, from
  participation in Medicare, Medicaid, and all other Federal health care programs as defined in
  42 U.S.C. § 1320a-7b(f). I acknowledge that if I am excluded, such exclusion shall have
  national effect and shall also apply to all other Federal procurement and non-procurement
  programs. If I am excluded, Federal health care programs will not pay anyone for items or
  services, including administrative or management services, furnished, ordered, or prescribed
  by me in any capacity while I am excluded. This payment prohibition would apply to me,
  anyone who employs or contracts with me, and any hospital or other provider where I provide
  services. The exclusion would apply regardless of who submits the claims or other request for
  payment. I understand that violation of the conditions of the exclusion may result in criminal
  prosecution, the imposition of civil monetary penalties and assessments, and an additional
  period of exclusion. See 42 U.S.C. §§ 1320a-7a and 1320a-7b. I understand that Reinstatement
  to program participation is not automatic. I understand that if, at the end of the period of
  exclusion, I wish to apply for reinstatement, I must submit a written request for reinstatement
  in accordance with the provisions of 42 C.F.R. §§ 1001.3001-.3005. I understand that ifl am
  excluded, I will remain excluded unless and until the OIG reinstates me pursuant to 42 C.F.R.
  §§ 1001.3001-.3005.

     7. Deportation

         I understand if I am not a citizen of the United States, or if I am a naturalized citizen,
  pleading guilty may have consequences with respect to my immigration status including, but
  not limited to, deportation from the United States, denial of United States citizenship, denial
  of admission to the United States in the future, or denaturalization. I expressly recognize under
  federal law, convicti~£a broad range of crimes can lead to adverse immigration
  Defendant's Initials:
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  consequence$ including.. but not limited to. automatic removal from the United States, and that
  no one, including my attorney or the Court. can predict with cenainty the effect of a conviction
  on my immignnion status. J am not retying on any promise or belief about the immigrotjoo
  consequences of pleading guilty. I want to plead guilty regardless ofany poten1ial immigntlion
  consequences.

      8. Admi.ssibility Of Statements

           I understand any statemenl$ I make (in<:lucling this pica agreement, and my admission
  of guilt) during or in preparation for any guilty plea hearing. sentencing hearing, or other
  hearing and any statements I make or have made to law enforcement agents, in any selling
  (including during• pro!Ter). may be uS<d against me in this matter and, in the event I violate
  any provision of this pica ~en~ in any matter brought by the United S1a1cs against me. I
  knowingly waive any righl I may have under the Constitution, any statute. rule or other source
  of law to have such statements. or evidence derhcd from such statcmcnlS, suppressed or
  ex.eluded from being admitted into evidmcc and Stipulate that such statements can be admitted
  int<> evidence.

     9,   ComnlcUon or Pwrc;ution
          The United Scaics ag,,:cs that if I comply wilh my obliga1ions under 1his pico
  ngrecmcnt. it will nm prosecute or 5C'Cl forfeiture a.a,nins1 me for nny criminal conduct
  occurrins prior 10 the dntc this Q£J"CCmen, is sianed covered by (n) lhc lndiccmenc in Cose No.
   l:19crl6, or ,u,y violu1ions of law that \\ffl: the subj«:! mailer of the lndie1men1, (b) the
  inve.iigation by 1he United Stales Attorney's Office for the Westen, Ois1rie1 of Virginia
  ("USAO-WDVA") and the Unilcd Stales ~ t of Justice Consumer Pro1ee1ion Branch
  (··CPO''), and/or (c) the f8CIS known lO the USAO-WDVA and CP8 regarding the sale,
  promotion, or marketing of Suboxone or SubuteX, in the Uniled States. However, the Uni1cd
  S1a1es expressly reserves il< right 10 prosecute me for any crime of violence, os defined in 18
  u.s.c. § 16.
     10. Addi1ion1I Ohligacions

     I agree 10 be debriefed by low enforc:emen1 agtt1ts concerning the sale, promotion, or
 marke1ing ofSuboxone or Subu1e:x, in the Uni1ed Swes. I understand ii is a felony o!Tense to
 make false s1a1emenL, to law enforcemen, agcnlS o,- to 1cslify falsely. I hereby waive any right
 under Che Fifih Amendmen, thai I may have lO reiuse to answer any question concerning Che
 sale, promotion. or marketing of Suboxone or Subutex, in the Uniced States, if called by the
 government to testify and in any debriefing wilh \be government



  D,fendant'., Initial$:   .Jr:;           Page6of JI
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          l agree not to commit any of the following acts:

     • attempt to withdraw my guilty plea, unless the Coun rejects the plea agreement;
     • deny I committed any crime to which I have pied guilty;
     • make or t1dopt any argtunents or objections to the presentence report that are
       inconsistent with this plea agreement;
     • obstruct justice;
     • fail ro comply with any provision of this pJea agreement;
     • commit any other crime;
     • ma.kc a false statement;
     • fail to enter my plea of guilty when scheduled to do so, unless a continuance is agreed
       to by the United States Attorney's Office and granted by the Court:
     • fail to testify truthfully if called upon to do so (al my sentencing hearing, or any other
       hearing) concerning the sale, promotion, or marketing ofSuboxonc or Subutex, in the
       United States; or
     • refuse, on the basis of the Fifth Amendment. to answer any question by the United
       States Department of Justice concerning the sale, promotion, or marketing ofSuboxone
       or Subutex, in the United Stlltes. This obligation does not waive my right to counsel
       under the Sixth Amendment, attomey-clieJH privilege. or other rights not expressly
       waived in this agreement.

  D. REllfEDlES     AVAILABLE TO TJIE UNITED STATES
         I hereby stipulate and agree that the United States Attorney's ofiice may. at its elc"<:tion,
  pursue any or all of the following remedies if I fail to comply with any provision of this
  agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges; (c) reinstate
  any dismissed charges; (d) file new charges; (e) withdraw any subotantial assistance motion
  made, regardless of whether substantial assislllnce has been perfo nncd; (f) refuse to abide by
  any provision, stipulations, and/or recommendations contained in this plea agreement; or (g)
  rake any other action provided for under this agreement or by starute, regulation or court l'\lle.

          In addition, I agree if, for any reason, my conviction is set aside, or J fail to comply
  with any obligation under lhc plea agrcemen1~ the United States may file, by indictment or
  infonnation, any charges against me which were filed and/or could have been filed concerning.
  the matters involved in the instant investigation. J hereby waive my right under Federal R.ule
  of Criminal Procedure 7 to be proceeded against by indictment and consent to the filing of an
  information against me concerning any such charges. I also hereby waive any statute of
  limitations defense as to any such charges.

         The remedies s c ~  above arc cumulative and not mutually exclusive. ·n,e United
  States' election of any tt  remedie.\, other than declaring lhis pica agreement void, docs
  Defendunl'.t lnitial5:
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 not, in any way, terminate my obligation to comply with the terms of the plea agreement. The
 use of "if' in this section does not mean "if, and only if."

 E. GENERAL PROVISIONS

    1. Limitation of Agreement

          This Agreement binds the Department of Justice. Notwithstanding the foregoing, it
 does not bind the Tax Division of the Department of Justice, other federal agencies, or any
 state, local, or foreign law enforcement or regulatory agencies, or any other authorities.

    2. Effect of My Signature

         I understand my signature on this agreement constitutes a binding offer by me to enter
 into this agreement. I understand the United States has not accepted my offer until it signs the
 agreement.

    3. Effective Representation

         I have discussed the terms of the foregoing plea agreement and all matters pertaining
 to the charges against me with my attorney and am fully satisfied with my attorney and my
 attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
 representation. I agree to make known to the Court no later than at the time of sentencing any
 dissatisfaction or complaint I may have with my attorney's representation.

    4. Misconduct

        If, at any time prior to my sentence being entered, I have any information concerning
 any conduct of any government attorney, agent, employee, or contractor which could be
 construed as misconduct or an ethical, civil, or criminal violation, I agree to make such conduct
 known to the United States Attorney's Office and the Court, in writing, as soon as possible but
 no later than my sentencing hearing.

    5. Final Matters

        I understand a thorough presentence investigation will be conducted and sentencing
 recommendations independent of the United States Attorney's Office will be made by the
 presentence preparer, which the Court may adopt or take into consideration. I understand any
 calculation regarding the guidelines by the United States Attorney's Office or by my attorney
 is speculative and is not binding upon the Court, the Probation Office or the United States
 Attorney's Office. No p ; ; ; e has
                                 e been made by anyone regarding the effect of the guidelines
 onmy case.
 Defendant's Initials:
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         I understand the prosecuLion will be free to alJocute or describe the nature of this offense
  and the evidence in this case and make any recommendations not prohibited by this agreement.

         I understand the United States retains the right, notwithstanding any provision in this
  plea agn.'Cment, to infonn the Probation Office and the Coun of all relevant facts, to address
  the Coun with respect to the nature and seriousness of the offense, to respond to any questions
  raised by the Court, to correct any inaccuracies or inadequacies in the prescntcncc report and
  10 respond to any statements made to the Coun by or on behalf of the defendant.

          I willing.Jy stipulate that the Information provides the Court with a sufficient factual
  basis to suppnn my plea of guilty.

          f understand this agreement does not apply to any crimes or charges not addressed in
  this agreement. I understand if! should testify falsely in this or in a related proceeding I may
  be prosecuted for perjury and statements J may have given authorities pursuant to this
  agreement may be used against me in such a proceeding.

          I understand my attorney will be free to argue any mitigating factors on my behalf; to
  the extent they are not inconsistent with the terms of this agreement. I understand r will have
  an opportunity to personally address the Court prior to sentence being imposed.

         This writing sets forth the entire understanding between the parties and conslitutes the
  complete plea agreement between the United States Attorney for the Western District of
  Virginia and me, and no other additional tenns or agreements shall be entered except and
  unless those other tenns or agreements arc in writing and signed by the parties. This plea
  agreement supersedes all prior understandings, promises, agreements, or conditions, if any,
  between the United States and me.

         I have consulted with my attorney and fully understand all my rights with respect to the
  offense to which I am pleading guilty as well as other charges that could have been brought
  against me. I have read this plea agreement and carefully reviewed every pan of it with my
  attomey. l understand this agreement and l voluntarily agree to it. r have not been coerced.
  threatened, or promised anythiog other than the tcnns of this plea agreement, described above,
  in exchange for my plea of guilty. Being aware of all of the possible consequences of my plea,
  I have independently decided lO enter this pica of my own free will, and am aOinning that
  agree     to this date and by my signature below.



  Defendant                "/

  Defenda11t's lnitialr:   -JZi::)
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         I have fully explained all rights available to my client with respect to the offense to
 which he is pleading guilty as well as other charges that could have been brought against him.
 I have carefuHy reviewed every part of this plea agreement with my client. To my knowledge,
 my client's decision to enter into this agreement is an informed and voluntary one.


 RALPH J. C         , Esq.                              DATE
 B           J M SS, Esq.
 KEVIN B.         ENDORF Esq.
 Counsel for Defendant




 Defendant's Initials:   ~               Page lOof 11
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   The United States Attorney's Office for the Western District of Virginia:

   BY:
          DANIEL P. BUBAR                             DATE
            Attorney for the United States,
            Acting Under Authority Conferred by 28 US. C. Section 515
          ALBERTP. MAYER
             Trial Attorney, Department a/Justice, Civil Division,
             Commercial Litigation Branch
          RANDY RAMSEYER
            Assistant United States Attorney
          KRISTIN L. GRAY
          JOSEPH S. HALL
          JANINE M. MYATT
            Special Assistant United States Attorneys I Assistant Attorneys General,
            Medicaid Fraud Control Unit, Virginia Office of the Attorney General
          GARTH W. HUSTON
            Special Assistant United States Attorney I Attorney, Federal Trade Commission
          CAROL L. WALLACK
             Trial Attorney, Department ofJustice, Civil Division,
            Commercial Litigation Branch

   The United States Department of Justice, Consumer Protection Branch:

  BY: ~ ~ ~
  Ln__ GUSTi\ :EYLER
 -(!- -      Director
          JILL P. FURMAN
             Deputy Director
          CHARLES J. BIRO
          MATTHEW J. LASH
             Trial Attorneys




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 The United States Attorney's Office for the Western District of Virginia:

 BY:         ~ f-l l-
        DANIEL P. BUBAR                             DATE
          Attorney for the United States,
          Acting Under Authority Conferred by 28 USC. Section 515
        ALBERTP. MAYER
           Trial Attorney, Department ofJustice, Civil Division,
           Commercial Litigation Branch
        RANDY RAMSEYER
          Assistant United States Attorney
        KRISTIN L. GRAY
        JOSEPH S. HALL
        JANINE M. MYATT
          Special Assistant United States Attorneys I Assistant Attorneys General,
          Medicaid Fraud Control Unit, Virginia Office of the Attorney General
        GARTH W. HUSTON
          Special Assistant United States Attorney I Attorney, Federal Trade Commission
        CAROL L. WALLA CK
           Trial Attorney, Department ofJustice, Civil Division,
           Commercial Litigation Branch

 The United States Department of Justice, Consumer Protection Branch:

 BY:
        GUSTAVW.EYLER                                DATE
           Director
        TILL P. FURMAN
           Deputy Director
        CHARLES J. BIRO
        MATTHEW J. LASH
           Trial Attorneys




 Defendant's Initials:
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